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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                  TRENTON VICINAGE


THE INDEPENDENCE PROJECT, INC.,
a New Jersey Non-Profit Corporation, and
RONALD MOORE, Individually,

               Plaintiffs,                            :   Case No.

VS.


HAZBRO REALTY, INC.,
a New Jersey Corporation,

               Defendant.
                                                  /


                                            COMPLAINT


       Plaintiffs, THE INDEPENDENCE PROJECT, INC., a New Jersey Non-Profit

Corporation, and RONALD MOORE, Individually, on their behalf and on behalf of all other

mobility impaired individuals similarly situated (sometimes referred to as "Plaintiff’ or

"Plaintiffs"), hereby sue the Defendant, HAZBRO REALTY, INC., a New Jersey Corporation
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(sometimes referred to as "Defendant"), for Injunctive Relief, damages, attorney’s fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et

("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).


                                  COUNT I
                       VIOLATION OF TITLE III OF THE
             AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12181, et seq.


        1.       Plaintiff, Ronald Moore, is an individual residing at 1002 central Avenue,

Hillside, NJ 07205, in the county of Union.

        2.       Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit corporation

formed under the laws of the State of New Jersey. THE INDEPENDENCE PROJECT, INC.

maintains its principal office at 1002 Central Avenue, Hillside, NJ 07205.

        3.       Defendant, HAZBRO REALTY, INC., a New Jersey Corporation, owns and/or

operates the subject property alleged by Plaintiffs to be operating in violation of Title III of the

FAI

        4.      Venue is properly located in the District of New Jersey because venue lies in the

judicial district of the property situs. The Defendant’s property is located in and does business

within this judicial district.

        5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et q. See also 28 U.S.C. § 2201 and §

2202.

        6.      Plaintiff Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA, being a quadriplegic. Ronald Moore has

visited the property which forms the basis of this lawsuit and plans to return to the property in


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the near future to avail himself of the goods and services offered to the public at the property.

The Plaintiff has encountered architectural barriers at the subject property. The barriers to access

at the property made it difficult for Plaintiff Moore to park at the premises, access the premises

and follow a compliant accessible route, to access the goods and services, to access the restrooms

and to use many of the basic amenities therein, and have endangered his safety. The Plaintiff is

also a member of the Plaintiff organization, THE INDEPENDENCE PROJECT, INC., discussed

below in paragraph 7.

        7.     Plaintiff THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey

corporation. Members of this organization include individuals with disabilities as defined by the

ADA. The purpose of this organization is to represent the interest of its members by assuring

places of public accommodation are accessible to and usable by the disabled and that its

members are not discriminated against because of their disabilities. THE INDEPENDENCE

PROJECT, INC. and its members have suffered and will continue to suffer direct and indirect

injury as a result of the Defendant’s discrimination until the Defendant is compelled to comply

with the requirements of the ADA. One or more of its members has suffered an injury that

would allow it to bring suit in its own right. THE INDEPENDENCE PROJECT, INC. has also

been discriminated against because of its association with its disabled members and their claims.

       8.      Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

Defendant is responsible for complying with the obligations of the ADA. The place of public

accommodation that the Defendant owns, operates, leases or leases to is known as Chelsea Place,

a shopping center, and is located at 3253 Route 35, Hazlet, NJ 07730, in the County of

Monmouth.




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        9.     THE INDEPENDENCE PROJECT, INC. and RONALD MOORE have a

realistic, credible, existing and continuing threat of discrimination from the Defendant’s non-

compliance with the ADA with respect to this property as described but not necessarily limited

to the allegations in paragraph 11 of this complaint. Plaintiffs have reasonable grounds to

believe that they will continue to be subjected to discrimination in violation of the ADA by the

Defendant. Ronald Moore desires to visit Chelsea Place not only to avail himself of the goods

and services available at the property but to assure himself that this property is in compliance

with the ADA so that he and others similarly situated will have full and equal enjoyment of the

property without fear of discrimination.

        10.    The Defendant has discriminated against the individual Plaintiff and members of

the corporate Plaintiff organization by denying them access to, and full and equal enjoyment of,

the goods, services, facilities, privileges, advantages and/or accommodations of the buildings, as

prohibited by 42 U.S.C. § 12182q.

        11.    The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiffs in violation of the ADA by failing to, inter alia, have accessible facilities by January

26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

$500,000 or less). A preliminary inspection of Chelsea Place has shown that violations exist.

These violations that Ronald Moore personally observed or encountered include, but are not

limited to:


               Parking and Exterior Accessible Route

                a.      Parking spaces throughout Chelsea Place are not maintained; lack
        compliant access aisles contain slopes and abrupt changes of level within the spaces,
        violating Sections 502 and 502.4 of the 2010 Accessibility Standards. These conditions
        prevent Mr. Moore and those in wheelchairs to unload from their vehicles freely and
        safely.



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              b.      Curb ramps provided to access stores at Chelsea Place are unsafe for
      wheelchair users and are not provided in some areas of the center. The curb ramps
      contain abrupt changes of level, contain cross slopes and slopes beyond the limits,
      violating Sections 406 and 502.7 of the 2010 Accessibility Standards.

             C.       The exterior accessible route from parking spaces at Chelsea Place fails to
      lead to ramps or curb ramps and was found to contain cross slopes and abrupt changes of
      level, those in wheelchairs can be harmed by these conditions, violating Sections 403.4
      and 402 of the 2010 Accessibility Standards. An accessible route for Mr. Moore is not
      provided throughout the plaza all though a route containing steps is.

              d.      Entering tenants throughout Chelsea Place is impeded by abrupt changes
      of level and slopes at the base of doors, violating Section 404 of the 2010 Accessibility
      Standards.

               e.      Chelsea Place fails to provide a safe accessible route to the adjacent bus
      stop, street or sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards.

             Access to Goods and Services

             a.      Assaggini Di Roma, Fuji Steakhouse and Bagel Shop fail to provide
      accessible dining tables for those in wheelchairs, violating Section 902 of the 2010
      Accessibility Standards.

             b.      Payment counters throughout Chelsea Place are mounted beyond the reach
      of Mr. Moore and others in wheelchairs, violating Sections 308 and 904 of the 2010
      Accessibility Standards.

             Restrooms

              a.     Restrooms at Chelsea Place including Assaggini Di Roma, Fuji
     Steakhouse and Compliments Hair Design were reported to be unsafe for use by the
     plaintiff. Inspection revealed Mr. Moore was unable to use the restrooms safely due to a
     lack of accessibility. Including, inaccessible water closets which lack proper controls and
     wheelchair maneuvering space violating Section 601 of the 2010 Accessibility Standards.

            b.      Restrooms at Chelsea Place provide dispensers beyond reach of
     wheelchair users and are inaccessible to the plaintiff, violating Section 308 of the 2010
     Accessibility Standards.

            C.       Lavatories at Assaggini Di Roma, Fuji Steakhouse and Compliments Hair
     Design lack knee clearance and accessibility preventing the plaintiff from freely
     accessing the lavatory, violating Section 606 the 2010 Accessibility Standards.

           d.      Assaggini Di Roma, Fuji Steakhouse and Compliments Hair Design
     provide restrooms that contain improper centerlines for the water closets and flush



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        controls mounted on the wall side, violating Section 604 of the 2010 Accessibility
        Standards.

                e.      Restrooms provided at Chelsea Place provide improper identification
        signage and is impeded by improper door hardware with a lack of maneuvering space to
        enter, violating Section 404 of the 2010 Accessibility Standards.



        12.    All of the foregoing violations are also violations of the 1991 Americans with

Disabilities Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible

Design, as adopted by the U.S. Department of Justice.

        13.    The discriminatory violations described in paragraph 11 are not an exclusive list

of the Defendant’s ADA violations. Plaintiffs require the inspection of the Defendant’s place of

public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access. The individual Plaintiff, the members of the

Plaintiff group, and all other individuals similarly situated, have been denied access to, and have

been denied the benefits of services, programs and activities of the Defendant’s buildings and its

facilities, and have otherwise been discriminated against and damaged by the Defendant because

of the Defendant’s ADA violations, as set forth above. The individual Plaintiff, the members of

the Plaintiff group and all others similarly situated will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein. In

order to remedy this discriminatory situation, the Plaintiffs require an inspection of the

Defendant’s place of public accommodation in order to determine all of the areas of non-

compliance with the Americans with Disabilities Act.

       14.     Defendant has discriminated against the individual and corporate Plaintiffs by

denying them access to full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations of its place of public accommodation or commercial facility



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in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant

continues to discriminate against the Plaintiffs, and all those similarly situated by failing to make

reasonable modifications in policies, practices or procedures, when such modifications are

necessary to afford all offered goods, services, facilities, privileges, advantages or

accommodations to individuals with disabilities; and by failing to take such efforts that may be

necessary to ensure that no individual with a disability is excluded, denied services, segregated

or otherwise treated differently than other individuals because of the absence of auxiliary aids

and services.

        15.     Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

Considering the balance of hardships between the Plaintiffs and Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

       16.      Plaintiffs have retained the undersigned counsel and are entitled to recover

attorney’s fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205

and 28 CFR 3 6.505.

       17.      Defendant is required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for its place of public

accommodation that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative,

if there has been an alteration to Defendant’s place of public accommodation since January 26,

1992, then the Defendant is required to ensure to the maximum extent feasible, that the altered

portions of the facility are readily accessible to and useable by individuals with disabilities,

including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s

facility is one which was designed and constructed for first occupancy subsequent to January 26,

1993, as defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to




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and useable by individuals with disabilities as defined by the ADA.

        18.    Notice to Defendant is not required as a result of the Defendant’s failure to cure

the violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiffs or waived by the Defendant.

        19.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiffs Injunctive Relief, including an order to require the Defendant to alter Chelsea Place to

make those facilities readily accessible and useable to the Plaintiffs and all other persons with

disabilities as defined by the ADA; or by closing the facility until such time as the Defendant

cures its violations of the ADA.


       WHEREFORE, Plaintiffs respectfully request:


       a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

               commencement of the subject lawsuit are in violation of Title III of the

               Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

       b.      Injunctive relief against the Defendant including an order to make all readily

               achievable alterations to the facility; or to make such facility readily accessible to

               and usable by individuals with disabilities to the extent required by the ADA; and

               to require the Defendant to make reasonable modifications in policies, practices or

               procedures, when such modifications are necessary to afford all offered goods,

               services, facilities, privileges, advantages or accommodations to individuals with

               disabilities; and by failing to take such steps that may be necessary to ensure that

               no individual with a disability is excluded, denied services, segregated or

               otherwise treated differently than other individuals because of the absence of
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                  auxiliary aids and services.

        C.        An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

                  § 12205.

        d.        Such other relief as the court deems just and proper, and/or is allowable under

                Title III of the Americans with Disabilities Act.


                                  COUNT II
             VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION


        20.     Plaintiffs reallege all prior obligations as if fully set forth herein. Plaintiffs repeat

the allegations contained in all of the proceeding paragraphs.

        21.     Defendant’s facility is a place of public accommodation as defined by N.J.S.A.

10:5-5, (New Jersey Law Against Discrimination).

        22.    New Jersey law provides that all persons shall have the opportunity to obtain all

the accommodations, advantages, facilities and privileges of any place of public accommodation

without discrimination on the basis of disability. This opportunity is recognized and declared to

be a civil right. (See, N.J.S.A. 10:5-4.)

       23.     As a result of the aforementioned discrimination, Plaintiff Ronald Moore has

sustained emotional distress, mental anguish and suffering and humiliation, and other injuries, in

violation of the New Jersey Law Against Discrimination.


       WHEREFORE, Ronald Moore demands judgment for damages, attorneys’ fees,

litigation expenses, including expert fees and costs pursuant to the New Jersey Law Against

Discrimination.
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                                      Respectfully -sub tted,


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